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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                           Order Filed on May 20, 2020
   RIKER, DANZIG, SCHERER, HYLAND &                                        by Clerk,
   PERRETTI LLP                                                            U.S. Bankruptcy Court
   Joseph L. Schwartz (JS-5525)                                            District of New Jersey

   Tara J. Schellhorn (TS-8155)
   Headquarters Plaza, One Speedwell Avenue
   Morristown, NJ 07962-1981
   Telephone: (973) 583-0800
   -and-
   PACHULSKI STANG ZIEHL & JONES LLP
   Bradford J. Sandler (NJ Bar No. BS-1367)
   Shirley S. Cho (admitted pro hac vice)
   780 Third Avenue, 34th Floor
   New York, NY 10017

   Counsel to the Liquidating Trust

   In re:                                                       Chapter 11

   FRANK THEATRES BAYONNE/SOUTH                                 Case No. 18-34808 (SLM)
   COVE, LLC, et al.,1
                                                                (Jointly Administered)
                                     Debtors.


                  STIPULATION AND CONSENT ORDER (I) WITHDRAWING
                 CLAIM NUMBER 73 AND (II) REDUCING CLAIM NUMBER 74

            The relief set forth on the following pages, numbered two (2) through four (4), is hereby

 ORDERED


DATED: May. 20, 2020




 1 The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres,
 LLC (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres
 Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres
 Sanford, LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of
 Saucon Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033);
 Frank Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).
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 Debtors:    Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:   18- 34808 (SLM)
 Caption:    Stipulation and Consent Order (I) Withdrawing Claim Number 73 and (II) Reducing
             Claim No. 74



        This matter comes before the Court on the informal objection of Advisory Trust Group

 LLC, in its capacity as Trustee (the “Liquidating Trustee”) of the Frank Theatres Liquidating

 Trust (the “Liquidating Trust”) with respect to the Claims filed by Twentieth Century Fox Film

 Corp. (the “Claimant”) including the following (i) proof of claim number 73 in the amount of

 $130,894.89 on behalf of Claimant against Debtor Frank Theatres Bayonne/South Cove LLC

 (“Claim 73”); and (ii) proof of claim number 73 in the amount of $130,894.89 on behalf of

 Claimant against Debtor Frank Entertainment Group LLC (“Claim 74”) (Claim 73 and 74 are

 collectively referred to as the “Claims”); and the Court having jurisdiction to consider this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper before the Court pursuant to 28

 U.S.C. §§ 1408 and 1409; and consideration of this matter being a core proceeding pursuant to

 28 U.S.C. § 157(b); and it appearing that proper and adequate notice of the dispute has been

 given and that no other or further notice is necessary; and upon the record herein and the

 agreement of the Liquidating Trustee and the Claimant; and the Court having determined that the

 relief provided for herein is in the best interests of the Liquidating Trust and its creditors; and

 after due deliberation and good and sufficient cause appearing therefor;

        IT IS HEREBY ORDERED THAT:




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 Debtors:    Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:   18- 34808 (SLM)
 Caption:    Stipulation and Consent Order (I) Withdrawing Claim Number 73 and (II) Reducing
             Claim No. 74



        1.       Upon entry of this Stipulation and Consent Order, Claim 74 shall be reduced and

 allowed as a General Unsecured Claim2 in the amount of $90,891.23, and the official claims

 register maintained in this case shall be updated accordingly.


        2.       Upon entry of this Stipulation and Consent Order, Claim 73 shall be withdrawn

 and expunged with prejudice and the official claims register maintained in this case shall be

 updated accordingly.

        3.       Each person who executes this Stipulation and Consent Order represents that he

 or she is duly authorized to execute this Stipulation on behalf of the respective Parties hereto and

 that each such party has full knowledge and has consented to this Stipulation.

        4.       This Stipulation and Consent Order may be executed in one or more counterparts,

 any of which may be transmitted by facsimile or electronic transmission, and each of which shall

 be deemed an original, but all of which together shall constitute one and the same document.

        5.       Each of the parties hereto consents to the jurisdiction of the United States

 Bankruptcy Court for the District of New Jersey to adjudicate any and all disputes arising under

 or relating to this Stipulation and Consent Order.




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   Unless otherwise defined, all capitalized terms shall have the meaning ascribed to them in the Modified First
 Amended Plan of Reorganization of Frank Theatres Bayonne/South Cove, LLC, et al., Pursuant to Chapter 11 of
 the Bankruptcy Code as confirmed by an Order of the Court entered on October 29, 2019 (the “Modified Plan”)
 [Docket No. 783].



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             Claim No. 74



        6.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation of this Stipulation and Consent Order

        5.      The Parties shall bear their own attorney’s fees and costs.


 Dated: May __, 2020




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             Claim No. 74



 STIPULATED AND AGREED:



 RIKER, DANZIG, SCHERER, HYLAND &                     GREENBERG TRAURIG LLP
 PERRETTI LLP
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                                                      Alan Brody
 /s/ DRAFT
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 -and-

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